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                        Exhibit １1
                        Ｅｘｈｉｂｉｔ
Ｃｏｒｒｅｃｔｅｄ ＡＤＳ
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                                                                                                                                                       ＰＴＯ／ＡＩＡ１１４（０１－２２）
                                                                                                                     Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４．ＯＭＢ０６５１－００３２
                                                                                                    Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ． ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
                   Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５，ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｉｒｅｄ ｔｏ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏｎ ｕｎｌｅｓｓ ｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．

      Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｔｔｏｒｎｅｙ Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ
                                                                                                               ６７３０１－Ｈ００１ＤＳ０２
                                                                       Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                      ２９／９５２，１４４
      Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ        ＣＯＮＮＥＣＴＯＲ
      Ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ｄａｔａ ｓｈｅｅｔ ｉｓ ｐａｒｔ ｏｆ ｔｈｅ ｐｒｏｖｉｓｉｏｎａｌ ｏｒ ｎｏｎｐｒｏｖｉｓｉｏｎａｌ ａｐｌｉｃａｔｉｏｎ ｆｏｒ ｗｈｉｃｈ ｉｔ ｉｓ ｂｅｉｎｇ ｓｕｂｍｉｔｅｄ． Ｔｈｅ ｆｏｌｌｏｗｉｎｇ ｆｏｒｍ ｃｏｎｔａｉｎｓ ｔｈｅ
      ｂｉｂｌｉｏｇｒａｐｈｉｃ ｄａｔａ ａｒｒａｎｇｅｄ ｉｎ ａ ｆｏｒｍａｔ ｓｐｅｃｉｆｉｅｄ ｂｙ ｔｈｅ Ｕｎｉｔｅｄ Ｓｔａｔｅｓ Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ ａｓ ｏｕｔｌｉｎｅｄ ｉｎ ３７ ＣＦＲ １．７６．
      Ｔｈｉｓ ｄｏｃｕｍｅｎｔ ｍａｙ ｂｅ ｃｏｍｐｌｅｔｅｄ ｅｌｅｃｔｒｏｎｉｃａｌｌｙ ａｎｄ ｓｕｂｍｉｔｅｄ ｔｏ ｔｈｅ Ｏｆｉｃｅ ｉｎ ｅｌｅｃｔｒｏｎｉｃ ｆｏｒｍａｔ ｕｓｉｎｇ ｔｈｅ Ｅｌｅｃｔｒｏｎｉｃ Ｆｌｉｎｇ Ｓｙｓｔｅｍ（ＥＦＳ） ｏｒ ｔｈｅ
      ｄｏｃｕｍｅｎｔ ｍａｙ ｂｅ ｐｒｉｎｔｅｄ ａｎｄ ｉｎｃｌｕｄｅｄ ｉｎ ａ ｐａｐｅｒ ｆｉｌｅｄ ａｐｐｌｉｃａｔｉｏｎ．
     Ｓｅｃｒｅｃｙ Ｏｒｄｅｒ ３７ ＣＦＲ ５．２：
      □Ｐｏｒｔｉｏｎｓ ｏｒ ａｌｌ ｏｆ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ａｓｓｏｃｉａｔｅｄ ｗｉｔｈ ｔｈｉｓ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｍａｙ ｆａｌｌ ｕｎｄｅｒ ａ Ｓｅｃｒｅｃｙ Ｏｒｄｅｒ ｐｕｒｓｕａｎｔ ｔｏ
      ２７ＣｃＤ ５３ ／Ｄａｎｒ ｆｉｌｏｒｅ ｏｎｌ Ａｎｎｌｉｏｏｔｉｏｎｅ ｔｈｏｔ ｆｏｌｌｕｎｄｏｒ Ｃ０ｏｒｏ Ｏｅｄｏｒ ｍａｙ ｎｏｔ ｂｏ ｆｉｌｏｄｏｌｏｔｒｏｎｉｏｌｌｙ

          ３／ ＣＨＫ５．２（Ｐａｐｅｒ ｔｉｌｅｒｓ ｏｎｌｙ． Ａｐｐｌｉｃａｔｉｏｎｓ ｔｎａｔ ｔａｌｌ ｕｎｄｅｒ ｓｅｃｒｅｃｙ Ｕｒａｅｒ ｍａｙ ｎｏｔ ｂｅ ｆｉｌｅｄ ｅｌｅｃｔｒｏｎｉｃａｌｌｙ．）

     Ｉｎｖｅｎｔｏｒ Ｉｎｆｏｒｍａｔｉｏｎ：
      Ｉｎｖｅｎｔｏｒ １                                                                                                                   Ｒｅｍｏｖｅ
      Ｌｅｇａｌ Ｎａｍｅ
      Ｐｒｅｆｉｘ Ｇｉｖｅｎ Ｎａｍｅ                                           Ｍｉｄｄｌｅ Ｎａｍｅ                                  Ｆａｍｉｌｙ Ｎａｍｅ                                        Ｓｕｆｆｉｘ
                Ｈｅｃｈｕａｎ                                                                                        ＸＵ
       Ｒｅｓｉｄｅｎｃｅ Ｉｎｆｏｒｍａｔｉｏｎ （Ｓｅｌｅｃｔ Ｏｎｅ）Ｏ ＵＳ Ｒｅｓｉｄｅｎｃｙ ◎ Ｎｏｎ ＵＳ Ｒｅｓｉｄｅｎｃｙ                                                Ｏ Ａｃｔｉｖｅ ＵＳ Ｍｉｌｉｔａｒｙ Ｓｅｒｖｉｃｅ
     Ｃｉｔｙ Ｓｈａｎｇｈａｉ                                                 Ｃｏｕｎｔｒｙ ｏｆ Ｒｅｓｉｄｅｎｃｅ                                     ＣＮ


     Ｍａｉｌｉｎｇ Ａｄｄｒｅｓｓ ｏｆ Ｉｎｖｅｎｔｏｒ：
      Ａｄｄｒｅｓｓ １                Ｂｕｉｌｄｉｎｇ Ｃ， Ｎｏ．８８８， Ｈｕａｎｈｕｘｉ ｓｅｃｏｎｄ Ｒｏａｄ， Ｌｉｎｇａｎｇ
      Ａｄｄｒｅｓｓ ２                Ｎｅｗ Ａｒｅａ， Ｃｈｉｎａ（Ｓｈａｎｇｈａｉ） Ｐｉｌｏｔ Ｆｒｅｅ Ｔｒａｄｅ Ｚｏｎｅ
      Ｃｉｔｙ             Ｓｈａｎｇｈａｉ                                                               Ｓｔａｔｅ／Ｐｒｏｖｉｎｃｅ
      Ｐｏｓｔａｌ Ｃｏｄｅ                          ２００１３１            Ｃｏｕｎｔｒｙｉ       ＣＮ
      Ａｌｌ Ｉｎｖｅｎｔｏｒｓ Ｍｕｓｔ Ｂｅ Ｌｉｓｔｅｄ － Ａｄｄｉｔｉｏｎａｌ Ｉｎｖｅｎｔｏｒ Ｉｎｆｏｒｍａｔｉｏｎ ｂｌｏｃｋｓ ｍａｙ ｂｅ                                                           Ａｄｄ
      ｇｅｎｅｒａｔｅｄ ｗｉｔｈｉｎ ｔｈｉｓ ｆｏｒｍ ｂｙ ｓｅｌｅｃｔｉｎｇ ｔｈｅ Ａｄｄ ｂｕｔｔｏｎ．
     Ｃｏｒｒｅｓｐｏｎｄｅｎｃｅ Ｉｎｆｏｒｍａｔｉｏｎ：
      Ｅｎｔｅｒ ｅｉｔｈｅｒ Ｃｕｓｔｏｍｅｒ Ｎｕｍｂｅｒ ｏｒ ｃｏｍｐｌｅｔｅ ｔｈｅ Ｃｏｒｒｅｓｐｏｎｄｅｎｃｅ Ｉｎｆｏｒｍａｔｉｏｎ ｓｅｃｔｉｏｎ ｂｅｌｏｗ．
      Ｆｏｒ ｆｕｒｔｈｅｒ ｉｎｆｏｒｍａｔｉｏｎ ｓｅｅ ３７ ＣＦＲ １．３３（ａ）．
     □ Ａｎ Ａｄｄｒｅｓｓ ｉｓ ｂｅｉｎｇ ｐｒｏｖｉｄｅｄ ｆｏｒ ｔｈｅ ｃｏｒｒｅｓｐｏｎｄｅｎｃｅ Ｉｎｆｏｒｍａｔｉｏｎ ｏｆ ｔｈｉｓ ａｐｐｌｉｃａｔｉｏｎ．
      Ｃｕｓｔｏｍｅｒ Ｎｕｍｂｅｒ                      １９４４９８
      Ｅｍａｉｌ Ａｄｄｒｅｓｓ                        ｄｏｃｋｅｔｉｎｇ＠ｐｏｒｕｓ－ｉｐ．ｃｏｍ                                                               Ａｄｄ Ｅｍａｌｌ             Ｒｅｍｏｖｅ Ｅｍａｉｌ
      Ｅｍａｉｌ Ａｄｄｒｅｓｓ                        Ｄｏｃｋｅｔｉｎｇ．ＰｏｒｕｓＩＰ＠ｇｍａｉｌ．ｃｏｍ                                                          Ａｄｄ Ｅｍａｌｌ             ＲｅｍｏｖｅＥｍａｉｌ
      Ｅｍａｉｌ Ａｄｄｒｅｓｓ                        ｄｏｃｋｅｔｉｎｇ２０２０＠ｇｍａｉｌ．ｃｏｍ                                                                                    Ｒｅｍｏｖｅ Ｅｍａｉｌ




     ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳ Case: 1:25-cv-05846 Document #: 12-2 Filed: 06/04/25 Page 3 of 9 PageID #:267
                                                                                                                                                    ＰＴＯＩＡＩＡＶ１４（０１－２２）
                                                                                                                  Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４．ＯＭＢ ０６５１－００３２
                                                                                                Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ． ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
                Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５， ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｉｒｅｄ ｏ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏ ｕｎｌｅｓｓ ｉｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．
                                       Ａｔｔｏｒｎｅｙ Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ
    Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｐｐｌｉｃａｔｉｏｎ
                                                                                                            ６７３０１－Ｈ００１ＤＳ０２
                                                   Ｎｕｍｂｅｒ                                                    ２９／９５２，１４４

   Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ

   Ａｐｐｌｉｃａｔｉｏｎ Ｉｎｆｏｒｍａｔｉｏｎ：
    Ｔｉｔｌｅ ｏｆ ｔｈｅ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ
    Ａｔｔｏｒｎｅｙ Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ ６７３０１－Ｈ００１ＤＳ０２                                                   Ｓｍａｌｌ Ｅｎｔｉｔｙ Ｓｔａｔｕｓ Ｃｌａｉｍｅｄ
   Ａｐｐｌｉｃａｔｉｏｎ Ｔｙｐｅ                      Ｎｏｎｐｒｏｖｉｓｉｏｎａｌ
    Ｓｕｂｊｅｃｔ Ｍａｔｔｅｒ         Ｄｅｓｉｇｎ
    Ｔｏｔａｌ Ｎｕｍｂｅｒ ｏｆ Ｄｒａｗｉｎｇ Ｓｈｅｅｔｓ（ｉｆ ａｎｙ）                          １４                       Ｓｕｇｇｅｓｔｅｄ Ｆｉｇｕｒｅ ｆｏｒ Ｐｕｂｌｉｃａｔｉｏｎ （ｉｆ ａｎｙ）
  Ｆｉｌｉｎｇ Ｂｙ Ｒｅｆｅｒｅｎｃｅ：
  Ｏｎｌｙ ｃｏｍｐｌｅｔｅ ｔｈｉｓ ｓｅｃｔｉｏｎ ｗｈｅｎ ｆｉｌｉｎｇ ａｎ ａｐｐｌｉｃａｔｉｏｎ ｂｙ ｒｅｆｅｒｅｎｃｅ ｕｎｄｅｒ ３５ Ｕ５．Ｃ．１１１（Ｃ ａｎｄ ３７ ＣＦＲ１．５７（ａ）． Ｄｏ ｎｏｔ ｃｏｍｐｌｅｔｅ ｔｈｉｓ ｓｅｃｔｉｏｎ ｉｆ
  ｌａｐｐｌｉｃａｔｉｏｎ ｐａｐｅｒｓ ｉｎｃｌｕｄｉｎｇ ａ ｓｐｅｃｉｆｉｃａｔｉｏｎ ａｎｄ ａｎｙ ｄｒａｗｉｎｇｓ ａｒｅ ｂｅｉｎｇ ｆｉｌｅｄ． Ａｎｙ ｄｏｍｅｓｔｉｃ ｂｅｎｅｆｉｔ ｏｒ ｆｏｒｅｉｇｎ ｐｒｉｏｒｉｔｙ ｉｎｆｏｒｍａｔｉｏｎ ｍｕｓｔ ｂｅ
  ｐｒｏｖｉｄｅｄ ｉｎ ｔｈｅ ａｐｐｒｏｐｒｉａｔｅ ｓｅｃｔｉｏｎ（ｓ） ｂｅｌｏｗ（ｉｅ．，＂Ｄｏｍｅｓｔｉｃ Ｂｅｎｅｆｉｔ／Ｎａｔｉｏｎａｌ Ｓｔａｇｅ Ｉｎｆｏｒｍａｔｉｏｎ＂ａｎｄ＂Ｆｏｒｅｉｇｎ Ｐｒｉｏｒｉｔｙ Ｉｎｆｏｒｍａｔｉｏｎ＂）．
  ｜Ｆｏｒ ｔｈｅ ｐｕｒｐｏｓｅｓ ｏｆ ａ ｆｉｌｉｎｇ ｄａｔｅ ｕｎｄｅｒ ３７ ＣＦＲ１．５３（ｂ），ｔｈｅ ｄｅｓｃｒｉｐｔｉｏｎ ａｎｄ ａｎｙ ｄｒａｗｉｎｇｓ ｏｆ ｔｈｅ ｐｒｅｓｅｎｔ ａｐｐｌｉｃａｔｉｏｎ ａｒｅ ｒｅｐｌａｃｅｄ ｂｙ ｔｈｉｓ
  ｒｅｆｅｒｅｎｃｅ ｔｏ ｔｈｅ ｐｒｅｖｉｏｕｓｌｙ ｆｉｌｅｄ ａｐｐｌｉｃａｔｉｏｎ， ｓｕｂｊｅｃｔ ｔｏ ｃｏｎｄｉｔｉｏｎｓ ａｎｄ ｒｅｑｕｉｒｅｍｅｎｔｓ ｏｆ ３７ ＣＦＲ １．５７（ａ）．
    Ａｐｐｌｉｃａｔｉｏｎ ｎｕｍｂｅｒ ｏｆ ｔｈｅ ｐｒｅｖｉｏｕｓｌｙ            Ｆｉｌｉｎｇ ｄａｔｅ（ＹＹＹＹ－ＭＭ－ＤＤ）                            Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ａｕｔｈｏｒｉｔｙ ｏｒ Ｃｏｕｎｔｒｙ
    ｆｉｌｅｄ ａｐｐｌｉｃａｔｉｏｎ


    Ｐｕｂｌｉｃａｔｉｏｎ Ｉｎｆｏｒｍａｔｉｏｎ：
   □Ｒｅｑｕｅｓｔ Ｅａｒｌｙ Ｐｕｂｌｉｃａｔｉｏｎ（Ｆｅｅ ｒｅｑｕｉｒｅｄ ａｔ ｔｉｍｅ ｏｆ Ｒｅｑｕｅｓｔ ３７ ＣＦＲ １．２１９）
         Ｒｅｑｕｅｓｔ Ｎｏｔ ｔｏ Ｐｕｂｌｉｓｈ． Ｉ ｈｅｒｅｂｙ ｒｅｑｕｅｓｔ ｔｈａｔ ｔｈｅ ａｔｔａｃｈｅｄ ａｐｐｌｉｃａｔｉｏｎ ｎｏｔ ｂｅ ｐｕｂｌｉｓｈｅｄ ｕｎｄｅｒ
   □ ３５ Ｕ．Ｓ．Ｃ．１２２（ｂ） ａｎｄ ｃｅｒｔｉｆｙ ｔｈａｔ ｔｈｅ ｉｎｖｅｎｔｉｏｎ ｄｉｓｃｌｏｓｅｄ ｉｎ ｔｈｅ ａｔｔａｃｈｅｄ ａｐｐｌｉｃａｔｉｏｎ ｈａｓ ｎｏｔ ａｎｄ ｗｉｌｌ ｎｏｔ ｂｅ ｔｈｅ
         ｓｕｂｊｅｃｔ ｏｆ ａｎ ａｐｐｌｉｃａｔｉｏｎ ｆｉｌｅｄ ｉｎ ａｎｏｔｈｅｒ ｃｏｕｎｔｒｙ， ｏｒ ｕｎｄｅｒ ａ ｍｕｌｉｌａｔｅｒａｌ ｉｎｔｅｒｎａｔｉｏｎａｌ ａｇｒｅｅｍｅｎｔ， ｔｈａｔ ｒｅｑｕｉｒｅｓ
         ｐｕｂｌｉｃａｔｉｏｎ ａｔ ｅｉｇｈｔｅｅｎ ｍｏｎｔｈｓ ａｆｔｅｒ ｆｉｌｉｎｇ．


   Ｒｅｐｒｅｓｅｎｔａｔｉｖｅ Ｉｎｆｏｒｍａｔｉｏｎ：
   Ｒｅｐｒｅｓｅｎｔａｔｉｖｅ ｉｎｆｏｒｍａｔｉｏｎ ｓｈｏｕｌｄ ｂｅ ｐｒｏｖｉｄｅｄ ｆｏｒ ａｌｌ ｐｒａｃｔｉｔｉｏｎｅｒｓ ｈａｖｉｎｇ ａ ｐｏｗｅｒ ｏｆ ａｔｔｏｒｎｅｙ ｉｎ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ． Ｐｒｏｖｉｄｉｎｇ
   ｔｈｉｓ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｔｈｅ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｄｏｅｓ ｎｏｔ ｃｏｎｓｔｉｔｕｔｅ ａ ｐｏｗｅｒ ｏｆ ａｔｔｏｒｎｅｙ ｉｎ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ（ｓｅｅ ３７ ＣＦＲ １．３２）．
   Ｅｉｔｈｅｒ ｅｎｔｅｒ Ｃｕｓｔｏｍｅｒ Ｎｕｍｂｅｒ ｏｒ ｃｏｍｐｌｅｔｅ ｔｈｅ Ｒｅｐｒｅｓｅｎｔａｔｉｖｅ Ｎａｍｅ ｓｅｃｔｉｏｎ ｂｅｌｏｗ． Ｉｆ ｂｏｔｈ ｓｅｃｔｉｏｎｓ ａｒｅ ｃｏｍｐｌｅｔｅｄ ｔｈｅ ｃｕｓｔｏｍｅｒ
    Ｎｕｍｂｅｒ ｗｉｌｌ ｂｅ ｕｓｅｄ ｆｏｒ ｔｈｅ Ｒｅｐｒｅｓｅｎｔａｔｉｖｅ Ｉｎｆｏｒｍａｔｉｏｎ ｄｕｒｉｎｇ ｐｒｏｃｅｓｓｉｎｇ．

    Ｐｌｅａｓｅ Ｓｅｌｅｃｔ Ｏｎｅ：               ◎ Ｃｕｓｔｏｍｅｒ Ｎｕｍｂｅｒ                    Ｏ ＵＳ Ｐａｔｅｎｔ Ｐｒａｃｔｉｔｉｏｎｅｒ Ｏ Ｌｉｍｉｔｅｄ Ｒｅｃｏｇｎｉｔｉｏｎ（３７ ＣＦＲ １１．９）
   Ｃｕｓｔｏｍｅｒ Ｎｕｍｂｅｒ                    １９４４９８




   ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳCase: 1:25-cv-05846 Document #: 12-2 Filed: 06/04/25 Page 4 of 9 PageID #:268

                                                                                                                                                ＰＴＯＩＡＩＡＶ１４（０１－２２）
                                                                                                               Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４．ＯＭＢ ０６５１－００３２
                                                                                              Ｕ．Ｓ Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ．ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
           Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５，ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｉｒｅｄ ｔｏ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏｎ ｕｎｌｅｓｓｉｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．
   Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｔｔｏｒｎｅｙ                             Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ ６７３０１－Ｈ００１ＤＳ０２
                                                              Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                        ２９／９５２，１４４
   Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ

 Ｄｏｍｅｓｔｉｃ Ｂｅｎｅｆｉｔ／Ｎａｔｉｏｎａｌ Ｓｔａｇｅ Ｉｎｆｏｒｍａｔｉｏｎ：
 Ｔｈｉｓ ｓｅｃｔｉｏｎ ａｌｌｏｗｓ ｆｏｒ ｔｈｅ ａｐｐｌｉｃａｎｔ ｔｏ ｅｉｔｈｅｒ ｃｌａｉｍ ｂｅｎｅｆｉｔ ｕｎｄｅｒ ３５ Ｕ．Ｓ．Ｃ．１１９（ｅ），１２０，１２１，３６５（ｃ）， ｏｒ ３８６（ｃ） ｏｒ ｉｎｄｉｃａｔｅ
 Ｎａｔｉｏｎａｌ Ｓｔａｇｅ ｅｎｔｒｙ ｆｒｏｍ ａ ＰＣＴ ａｐｐｌｉｃａｔｉｏｎ． Ｐｒｏｖｉｄｉｎｇ ｂｅｎｅｆｉｔ ｃｌａｉｍ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｔｈｅ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｃｏｎｓｔｉｔｕｔｅｓ｜
 ｔｈｅ ｓｐｅｃｉｆｉｃ ｒｅｆｅｒｅｎｃｅ ｒｅｑｕｉｒｅｄ ｂｙ ３５ Ｕ．Ｓ．Ｃ．１１９（ｅ） ｏｒ １２０， ａｎｄ ３７ ＣＦＲ １．７８．
 Ｗｈｅｎ ｒｅｆｅｒｒｉｎｇ ｔｏ ｔｈｅ ｃｕｒｒｅｎｔ ａｐｐｌｉｃａｔｉｏｎ， ｐｌｅａｓｅ ｌｅａｖｅ ｔｈｅ ＂Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ＂ ｆｉｅｌｄ ｂｌａｎｋ．
      Ｐｒｉｏｒ Ａｐｐｌｉｃａｔｉｏｎ Ｓｔａｔｕｓ Ｐｅｎｄｉｎｇ                                                                                              Ｒｅｍｏｖｅ
                                                                                                                                Ｆｉｌｉｎｇ ｏｒ ３７１（ｃ） Ｄａｔｅ
       Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                          Ｃｏｎｔｉｎｕｉｔｙ Ｔｙｐｅ                   Ｐｒｉｏｒ Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                      （ＹＹＹＹ－ＭＭ－ＤＤ）
                                        Ｃｏｎｔｉｎｕａｔｉｏｎ ｉｎ ｐａｒｔ ｏｆ                     ２９９４８７２７                              ２０２４－０６－２２
      Ｐｒｉｏｒ Ａｐｐｌｉｃａｔｉｏｎ Ｓｔａｔｕｓ Ｐｅｎｄｉｎｇ                                                                                           Ｒｅｍｏｖｅ
                                                                                                                                Ｆｉｌｉｎｇ ｏｒ ３７１（ｃ）Ｄａｔｅ
       Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                          Ｃｏｎｔｉｎｕｉｔｙ Ｔｙｐｅ                   Ｐｒｉｏｒ Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                      （ＹＹＹＹ－ＭＭ－ＤＤ）
   ２９９４８７２７                   Ｃｏｎｔｉｎｕａｔｉｏｎ ｏｆ                ２９９２３７２６                                                     ２０２４－０１－０１
   Ａｄｄｉｔｉｏｎａｌ Ｄｏｍｅｓｔｉｃ Ｂｅｎｅｆｉｔ／Ｎａｔｉｏｎａｌ Ｓｔａｇｅ Ｄａｔａ ｍａｙ ｂｅ ｇｅｎｅｒａｔｅｄ ｗｉｔｈｉｎ ｔｈｉｓ ｆｏｒｍ
  ｂｙ ｓｅｌｅｃｔｉｎｇ ｔｈｅ Ａｄｄ ｂｕｔｔｏｎ．


 Ｆｏｒｅｉｇｎ Ｐｒｉｏｒｉｔｙ Ｉｎｆｏｒｍａｔｉｏｎ：
 ｜Ｔｈｉｓ ｓｅｃｔｉｏｎ ａｌｌｏｗｓ ｆｏｒ ｔｈｅ ａｐｐｌｉｃａｎｔ ｔｏ ｃｌａｉｍ ｐｒｉｏｒｉｔｙ ｔｏ ａ ｆｏｒｅｉｇｎ ａｐｐｌｉｃａｔｉｏｎ． Ｐｒｏｖｉｄｉｎｇ ｔｈｉｓ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ｄａｔａ ｓｈｅｅｔ
 ｌｃｏｎｓｔｉｔｕｔｅｓ ｔｈｅ ｃｌａｉｍ ｆｏｒ ｐｒｉｏｒｉｔｙ ａｓ ｒｅｑｕｉｒｅｄ ｂｙ ３５ Ｕ．Ｓ．Ｃ．１１９（ｂ） ａｎｄ ３７ ＣＦＲ １．５５． Ｗｈｅｎ ｐｒｉｏｒｉｔｙ ｉｓ ｃｌａｉｍｅｄ ｔｏ ａ ｆｏｒｅｉｇｎ ａｐｐｌｉｃａｔｉｏｎ
 ｔｈａｔ ｉｓ ｅｌｉｇｉｂｌｅ ｆｏｒ ｒｅｔｒｉｅｖａｌ ｕｎｄｅｒ ｔｈｅ ｐｒｉｏｒｉｔｙ ｄｏｃｕｍｅｎｔ ｅｘｃｈａｎｇｅ ｐｒｏｇｒａｍ（ＰＤＸ） ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｗｉｌｌ ｂｅ ｕｓｅｄ ｂｙ ｔｈｅ Ｏｆｆｉｃｅ ｔｏ
 ａｕｔｏｍａｔｉｃａｌｌｙ ａｔｔｅｍｐｔ ｒｅｔｒｉｅｖａｌ ｐｕｒｓｕａｎｔ ｔｏ ３７ ＣＦＲ １．５５（）（１）ａｎｄ（２）． Ｕｎｄｅｒ ｔｈｅ ＰＤＸ ｐｒｏｇｒａｍ， ａｐｐｌｉｃａｎｔ ｂｅａｒｓ ｔｈｅ ｕｌｔｉｍａｔｅ
 ｒｅｓｐｏｎｓｉｂｉｌｉｔｙ ｆｏｒ ｅｎｓｕｒｉｎｇ ｔｈａｔ ａ ｃｏｐｙ ｏｆ ｔｈｅ ｆｏｒｅｉｇｎ ａｐｐｌｉｃａｔｉｏｎ ｉｓ ｒｅｃｅｉｖｅｄ ｂｙ ｔｈｅ Ｏｆｆｉｃｅ ｆｒｏｍ ｔｈｅ ｐａｒｔｉｃｉｐａｔｉｎｇ ｆｏｒｅｉｇｎ ｉｎｔｅｌｌｅｃｔｕａｌ
 ｐｒｏｐｅｒｔｙ ｏｆｉｃｅ， ｏｒ ａ ｃｅｒｔｉｆｉｅｄ ｃｏｐｙ ｏｆ ｔｈｅ ｆｏｒｅｉｇｎ ｐｒｉｏｒｉｔｙ ａｐｐｌｉｃａｔｉｏｎ ｉｓ ｆｌｅｄ， ｗｉｔｈｉｎ ｔｈｅ ｔｉｍｅ ｐｅｒｉｏｄ ｓｐｅｃｉｆｉｅｄ ｉｎ ３７ ＣＦＲ １．５５（９）（１）．
                                                                                                                                    Ｒｅｍｏｖｅ
       Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                            Ｃｏｕｎｔｒｙ                 Ｆｉｌｉｎｇ Ｄａｔｅ（ＹＹＹＹ－ＭＭ－ＤＤ）                      Ａｃｃｅｓｓ Ｃｏｄｅ（ｉｆ ａｐｐｌｉｃａｂｌｅ）
 ２０２９９０７０７０４２．４                        ＯＨ                                    ２０２３１４ ２９                                   ＡＤ４７
  Ａｄｄｉｔｉｏｎａｌ Ｆｏｒｅｉｇｎ Ｐｒｉｏｒｉｔｙ Ｄａｔａ ｍａｙ ｂｅ ｇｅｎｅｒａｔｅｄ ｗｉｔｈｉｎ ｔｈｉｓ ｆｏｒｍ ｂｙ ｓｅｌｅｃｔｉｎｇ ｔｈｅ
  Ａｄｄ ｂｕｔｔｏｎ．

 Ｓｔａｔｅｍｅｎｔ ｕｎｄｅｒ ３７ ＣＦＲ １．５５ ｏｒ １．７８ ｆｏｒ ＡＩＡ（Ｆｉｒｓｔ Ｉｎｖｅｎｔｏｒ ｔｏ Ｆｉｌｅ） Ｔｒａｎｓｉｔｉｏｎ
 Ａｐｐｌｉｃａｔｉｏｎｓ
        Ｔｈｉｓ ａｐｐｌｉｃａｔｉｏｎ（１） ｃｌａｉｍｓ ｐｒｉｏｒｉｔｙ ｔｏ ｏｒ ｔｈｅ ｂｅｎｅｆｉｔ ｏｆ ａｎ ａｐｐｌｉｃａｔｉｏｎ ｆｉｌｅｄ ｂｅｆｏｒｅ Ｍａｒｃｈ １６，２０１３ ａｎｄ（２） ａｌｓｏ
       ｃｏｎｔａｉｎｓ， ｏｒ ｃｏｎｔａｉｎｅｄ ａｔ ａｎｙ ｔｉｍｅ， ａ ｃｌａｉｍ ｔｏ ａ ｃｌａｉｍｅｄ ｉｎｖｅｎｔｉｏｎ ｔｈａｔ ｈａｓ ａｎ ｅｆｆｅｃｔｉｖｅ ｆｉｌｉｎｇ ｄａｔｅ ｏｎ ｏｒ ａｆｔｅｒ Ｍａｒｃｈ
  □ １６，２０１３．
       ＮＯＴＥ： Ｂｙ ｐｒｏｖｉｄｉｎｇ ｔｈｉｓ ｓｔａｔｅｍｅｎｔ ｕｎｄｅｒ ３７ ＣＦＲ １．５５ ｏｒ １．７８，ｔｈｉｓ ａｐｐｌｉｃａｔｉｏｎ， ｗｉｔｈ ａ ｆｉｌｉｎｇ ｄａｔｅ ｏｎ ｏｒ ａｆｔｅｒ Ｍａｒｃｈ
       １６，２０１３， ｗｉｌｌ ｂｅ ｅｘａｍｉｎｅｄ ｕｎｄｅｒ ｔｈｅ ｆｉｒｓｔ ｉｎｖｅｎｔｏｒ ｔｏ ｆｉｌｅ ｐｒｏｖｉｓｉｏｎｓ ｏｆ ｔｈｅ ＡＩＡ．
  ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳCase: 1:25-cv-05846 Document #: 12-2 Filed: 06/04/25 Page 5 of 9 PageID #:269
                                                                                                                                                     ＰＴＯＩＡＩＡＶ１４（０１－２２）
                                                                                                                  Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４． ＯＭＢ ０６５１－００３２
                                                                                                Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ． ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
               Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５， ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｉｒｅｄ ｔｏ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏｎ ｕｎｌｅｓｓ ｉｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．

   Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｔｔｏｒｎｅｙ Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ                                                 ６７３０１－Ｈ００１ＤＳ０２
                                      Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                                                     ２９／９５２，１４４

   Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ

  Ａｕｔｈｏｒｉｚａｔｉｏｎ ｏｒ Ｏｐｔ－Ｏｕｔ ｏｆ Ａｕｔｈｏｒｉｚａｔｉｏｎ ｔｏ Ｐｅｒｍｉｔ Ａｃｃｅｓｓ：
  Ｗｈｅｎ ｔｈｉｓ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｉｓ ｐｒｏｐｅｒｌｙ ｓｉｇｎｅｄ ａｎｄ ｆｉｌｅｄ ｗｉｔｈ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ， ａｐｐｌｉｃａｎｔ ｈａｓ ｐｒｏｖｉｄｅｄ ｗｒｉｔｔｅｎ
  ａｕｔｈｏｒｉｔｙ ｔｏ ｐｅｒｍｉｔ ａ ｐａｒｔｉｃｉｐａｔｉｎｇ ｆｏｒｅｉｇｎ ｉｎｔｅｌｌｅｃｔｕａｌ ｐｒｏｐｅｒｔｙ（ＩＰ）ｏｆｆｉｃｅ ａｃｃｅｓｓ ｔｏ ｔｈｅ ｉｎｓｔａｎｔ ａｐｐｌｉｃａｔｉｏｎ－ａｓ－ｆｉｌｅｄ（ｓｅｅ
  ｐａｒａｇｒａｐｈ Ａ ｉｎ ｓｕｂｓｅｃｔｉｏｎ １ ｂｅｌｏｗ） ａｎｄ ｔｈｅ Ｅｕｒｏｐｅａｎ Ｐａｔｅｎｔ Ｏｆｆｉｃｅ（ＥＰＯ） ａｃｃｅｓｓ ｔｏ ａｎｙ ｓｅａｒｃｈ ｒｅｓｕｌｔｓ ｆｒｏｍ ｔｈｅ ｉｎｓｔａｎｔ
  ａｐｐｌｉｃａｔｉｏｎ（ｓｅｅ ｐａｒａｇｒａｐｈ Ｂ ｉｎ ｓｕｂｓｅｃｔｉｏｎ １ ｂｅｌｏｗ）．
  Ｓｈｏｕｌｄ ａｐｐｌｉｃａｎｔ ｃｈｏｏｓｅ ｎｏｔ ｔｏ ｐｒｏｖｉｄｅ ａｎ ａｕｔｈｏｒｉｚａｔｉｏｎ ｉｄｅｎｔｉｆｉｅｄ ｉｎ ｓｕｂｓｅｃｔｉｏｎ １ ｂｅｌｏｗ， ａｐｐｌｉｃａｎｔ ｍｕｓｔ ｏｐｔ－ｏｕｔ ｏｆ ｔｈｅ
  ａｕｔｈｏｒｉｚａｔｉｏｎ ｂｙ ｃｈｅｃｋｉｎｇ ｔｈｅ ｃｏｒｒｅｓｐｏｎｄｉｎｇ ｂｏｘＡ ｏｒ Ｂ ｏｒ ｂｏｔｈ ｉｎ ｓｕｂｓｅｃｔｉｏｎ ２ ｂｅｌｏｗ．
 ｜ＮＯＴＥ： Ｔｈｉｓ ｓｅｃｔｉｏｎ ｏｆ ｔｈｅ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｉｓ ＯＮＬＹ ｒｅｖｉｅｗｅｄ ａｎｄ ｐｒｏｃｅｓｓｅｄ ｗｉｔｈ ｔｈｅ ＩＮＩＴＩＡＬ ｆｉｌｉｎｇ ｏｆ ａｎ
  ａｐｐｌｉｃａｔｉｏｎ． Ａｆｔｅｒ ｔｈｅ ｉｎｉｔｉａｌ ｆｉｌｉｎｇ ｏｆ ａｎ ａｐｐｌｉｃａｔｉｏｎ， ａｎ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｃａｎｎｏｔ ｂｅ ｕｓｅｄ ｔｏ ｐｒｏｖｉｄｅ ｏｒ ｒｅｓｃｉｎｄ
 ａｕｔｈｏｒｉｚａｔｉｏｎ ｆｏｒ ａｃｃｅｓｓ ｂｙ ａ ｆｏｒｅｉｇｎ ＩＰｏｆｆｉｃｅ（ｓ）． Ｉｎｓｔｅａｄ， Ｆｏｒｍ ＰＴＯ／ＳＢ／３９ ｏｒ ＰＴＯ／ＳＢ／６９ ｍｕｓｔ ｂｅ ｕｓｅｄ ａｓ ａｐｐｒｏｐｒｉａｔｅ．

  １． Ａｕｔｈｏｒｉｚａｔｉｏｎ ｔｏ Ｐｅｒｍｉｔ Ａｃｃｅｓｓ ｂｙ ａ Ｆｏｒｅｉｇｎ Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ｏｆｆｉｃｅ（ｓ）
  ｜Ａ． Ｐｒｉｏｒｉｔｙ Ｄｏｃｕｍｅｎｔ Ｅｘｃｈａｎｇｅ（ＰＤＸ）－Ｕｎｌｅｓｓ ｂｏｘＡ ｉｎ ｓｕｂｓｅｃｔｉｏｎ ２（ｏｐｔ－ｏｕｔ ｏｆ ａｕｔｈｏｒｉｚａｔｉｏｎ） ｉｓ ｃｈｅｃｋｅｄ， ｔｈｅ
  ｕｎｄｅｒｓｉｇｎｅｄ ｈｅｒｅｂｙ ｇｒａｎｔｓ ｔｈｅ ＵＳＰＴＯ ａｕｔｈｏｒｉｔｙ ｔｏ ｐｒｏｖｉｄｅ ｔｈｅ Ｅｕｒｏｐｅａｎ Ｐａｔｅｎｔ Ｏｆｆｉｃｅ（ＥＰＯ）， ｔｈｅ Ｊａｐａｎ Ｐａｔｅｎｔ Ｏｆｆｉｃｅ
  （ＪＰＯ）， ｔｈｅ Ｋｏｒｅａｎ Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ｏｆｆｉｃｅ（ＫＩＰＯ）， ｔｈｅ Ｓｔａｔｅ Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ｏｆｆｉｃｅ ｏｆ ｔｈｅ Ｐｅｏｐｌｅ＇ｓ Ｒｅｐｕｂｌｉｃ ｏｆ
  Ｃｈｉｎａ（ＳＩＰＯ）， ｔｈｅ Ｗｏｒｌｄ Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ｏｒｇａｎｉｚａｔｉｏｎ （ＷＩＰＯ）， ａｎｄ ａｎｙ ｏｔｈｅｒ ｆｏｒｅｉｇｎ ｉｎｔｅｌｌｅｃｔｕａｌ ｐｒｏｐｅｒｔｙ ｏｆｆｉｃｅ
  ｐａｒｔｉｃｉｐａｔｉｎｇ ｗｉｔｈ ｔｈｅ ＵＳＰＴＯ ｉｎ ａ ｂｉｌａｔｅｒａｌ ｏｒ ｍｕｌｔｉｌａｔｅｒａｌ ｐｒｉｏｒｉｔｙ ｄｏｃｕｍｅｎｔ ｅｘｃｈａｎｇｅ ａｇｒｅｅｍｅｎｔ ｉｎ ｗｈｉｃｈ ａ ｆｏｒｅｉｇｎ
 ａｐｐｌｉｃａｔｉｏｎ ｃｌａｉｍｉｎｇ ｐｒｉｏｒｉｔｙ ｔｏ ｔｈｅ ｉｎｓｔａｎｔ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ ｉｓ ｆｉｌｅｄ， ａｃｃｅｓｓ ｔｏ：（１）ｔｈｅ ｉｎｓｔａｎｔ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ－ａｓ－ｆｉｌｅｄ
  ｌａｎｄ ｉｔｓ ｒｅｌａｔｅｄ ｂｉｂｌｉｏｇｒａｐｈｉｃ ｄａｔａ，（２）ａｎｙ ｆｏｒｅｉｇｎ ｏｒ ｄｏｍｅｓｔｉｃ ａｐｐｌｉｃａｔｉｏｎ ｔｏ ｗｈｉｃｈ ｐｒｉｏｒｉｔｙ ｏｒ ｂｅｎｅｆｉｔ ｉｓ ｃｌａｉｍｅｄ ｂｙ ｔｈｅ
 ｌｉｎｓｔａｎｔ ａｐｐｌｉｃａｔｉｏｎ ａｎｄ ｉｔｓ ｒｅｌａｔｅｄ ｂｉｂｌｉｏｇｒａｐｈｉｃ ｄａｔａ， ａｎｄ（３） ｔｈｅ ｄａｔｅ ｏｆ ｆｉｌｉｎｇ ｏｆ ｔｈｉｓ Ａｕｔｈｏｒｉｚａｔｉｏｎ． Ｓｅｅ ３７ ＣＦＲ １．１４（ｈ）
  （１）．
  Ｂ．Ｓｅａｒｃｈ Ｒｅｓｕｌｔｓ ｆｒｏｍ Ｕ．Ｓ．Ａｐｐｌｉｃａｔｉｏｎ ｔｏ ＥＰＯ－Ｕｎｌｅｓｓ ｂｏｘ Ｂ ｉｎ ｓｕｂｓｅｃｔｉｏｎ ２（ｏｐｔ－ｏｕｔ ｏｆ ａｕｔｈｏｒｉｚａｔｉｏｎ） ｉｓ ｃｈｅｃｋｅｄ，
  ｔｈｅ ｕｎｄｅｒｓｉｇｎｅｄ ｈｅｒｅｂｙ ｇｒａｎｔｓ ｔｈｅ ＵＳＰＴＯ ａｕｔｈｏｒｉｔｙ ｔｏ ｐｒｏｖｉｄｅ ｔｈｅ ＥＰＯ ａｃｃｅｓｓ ｔｏ ｔｈｅ ｂｉｂｌｉｏｇｒａｐｈｉｃ ｄａｔａ ａｎｄ ｓｅａｒｃｈ
  ｒｅｓｕｌｔｓ ｆｒｏｍ ｔｈｅ ｉｎｓｔａｎｔ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ ｗｈｅｎ ａ Ｅｕｒｏｐｅａｎ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ ｃｌａｉｍｉｎｇ ｐｒｉｏｒｉｔｙ ｔｏ ｔｈｅ ｉｎｓｔａｎｔ ｐａｔｅｎｔ
 ａｐｐｌｉｃａｔｉｏｎ ｉｓ ｆｉｌｅｄ． Ｓｅｅ ３７ ＣＦＲ １．１４（ｈ）（２）．
  ｜Ｔｈｅ ａｐｐｌｉｃａｎｔ ｉｓ ｒｅｍｉｎｄｅｄ ｔｈａｔ ｔｈｅ ＥＰＯ＇ｓ Ｒｕｌｅ １４１（１）ＥＰＣ（Ｅｕｒｏｐｅａｎ Ｐａｔｅｎｔ Ｃｏｎｖｅｎｔｉｏｎ） ｒｅｑｕｉｒｅｓ ａｐｐｌｉｃａｎｔｓ ｔｏ ｓｕｂｍｉｔ ａ｜
  ｃｏｐｙ ｏｆ ｓｅａｒｃｈ ｒｅｓｕｌｔｓ ｆｒｏｍ ｔｈｅ ｉｎｓｔａｎｔ ａｐｐｌｉｃａｔｉｏｎ ｗｉｔｈｏｕｔ ｄｅｌａｙ ｉｎ ａ Ｅｕｒｏｐｅａｎ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ ｔｈａｔ ｃｌａｉｍｓ ｐｒｉｏｒｉｔｙ ｔｏ
  ｔｈｅ ｉｎｓｔａｎｔ ａｐｐｌｉｃａｔｉｏｎ．
  ２． Ｏｐｔ－Ｏｕｔ ｏｆ Ａｕｔｈｏｒｉｚａｔｉｏｎｓ ｔｏ Ｐｅｒｍｉｔ Ａｃｃｅｓｓ ｂｙ ａ Ｆｏｒｅｉｇｎ Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ｏｆｆｉｃｅ（ｓ）
       Ａ． Ａｐｐｌｉｃａｎｔ ＤＯＥＳ ＮＯＴ ａｕｔｈｏｒｉｚｅ ｔｈｅ ＵＳＰＴＯ ｔｏ ｐｅｒｍｉｔ ａ ｐａｒｔｉｃｉｐａｔｉｎｇ ｆｏｒｅｉｇｎ ＩＰ ｏｆｆｉｃｅ ａｃｃｅｓｓ ｔｏ ｔｈｅ ｉｎｓｔａｎｔ
  口 ａｐｐｌｉｃａｔｉｏｎ－ａｓ－ｆｉｌｅｄ． Ｉｆ ｔｈｉｓ ｂｏｘ ｉｓ ｃｈｅｃｋｅｄ， ｔｈｅ ＵＳＰＴＯ ｗｉｌｌ ｎｏｔ ｂｅ ｐｒｏｖｉｄｉｎｇ ａ ｐａｒｔｉｃｉｐａｔｉｎｇ ｆｏｒｅｉｇｎ ＩＰ ｏｆｆｉｃｅ ｗｉｔｈ
      ａｎｙ ｄｏｃｕｍｅｎｔｓ ａｎｄ ｉｎｆｏｒｍａｔｉｏｎ ｉｄｅｎｔｉｆｉｅｄ ｉｎ ｓｕｂｓｅｃｔｉｏｎ １Ａ ａｂｏｖｅ．
       Ｂ． Ａｐｐｌｉｃａｎｔ ＤＯＥＳ ＮＯＴ ａｕｔｈｏｒｉｚｅ ｔｈｅ ＵＳＰＴＯ ｔｏ ｔｒａｎｓｍｉｔ ｔｏ ｔｈｅ ＥＰＯ ａｎｙ ｓｅａｒｃｈ ｒｅｓｕｌｔｓ ｆｒｏｍ ｔｈｅ ｉｎｓｔａｎｔ ｐａｔｅｎｔ
  口 ａｐｐｌｉｃａｔｉｏｎ． Ｉｆ ｔｈｉｓ ｂｏｘ ｉｓ ｃｈｅｃｋｅｄ， ｔｈｅ ＵＳＰＴＯ ｗｉｌｌ ｎｏｔ ｂｅ ｐｒｏｖｉｄｉｎｇ ｔｈｅ ＥＰＯ ｗｉｔｈ ｓｅａｒｃｈ ｒｅｓｕｌｔｓ ｆｒｏｍ ｔｈｅ ｉｎｓｔａｎｔ
      ａｐｐｌｉｃａｔｉｏｎ．
 ＮＯＴＥ： Ｏｎｃｅ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ｈａｓ ｐｕｂｌｉｓｈｅｄ ｏｒ ｉｓ ｏｔｈｅｒｗｉｓｅ ｐｕｂｌｉｃｌｙ ａｖａｉｌａｂｌｅ， ｔｈｅ ＵＳＰＴＯ ｍａｙ ｐｒｏｖｉｄｅ ａｃｃｅｓｓ ｔｏ ｔｈｅ
 ａｐｐｌｉｃａｔｉｏｎ ｉｎ ａｃｃｏｒｄａｎｃｅ ｗｉｔｈ ３７ ＣＦＲ １．１４．



  ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳCase: 1:25-cv-05846 Document #: 12-2 Filed: 06/04/25 Page 6 of 9 PageID #:270
                                                                                                                                                   ＰＴＯ／ＡＩＡ１１４（０１－２２）
                                                                                                                Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４．ＯＭＢ ０６５１－００３２
                                                                                               Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ． ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
               Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５，ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｉｒｅｄ ｔｏ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏｎ ｕｎｌｅｓｓ ｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．
                                     Ａｔｔｏｒｎｅｙ Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ                                                ６７３０１－Ｈ００１ＤＳ０２
  Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                                                     ２９／９５２，１４４

  Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ

 Ａｐｐｌｉｃａｎｔ Ｉｎｆｏｒｍａｔｉｏｎ：
  Ｐｒｏｖｉｄｉｎｇ ａｓｓｉｇｎｍｅｎｔ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｔｈｉｓ ｓｅｃｔｉｏｎ ｄｏｅｓ ｎｏｔ ｓｕｂｓｔｉｔｕｔｅ ｆｏｒ ｃｏｍｐｌｉａｎｃｅ ｗｉｔｈ ａｎｙ ｒｅｑｕｉｒｅｍｅｎｔ ｏｆ ｐａｒｔ ３ ｏｆ Ｔｉｔｌｅ ３７ ｏｆ ＣＦＲ
  ｔｏ ｈａｖｅ ａｎ ａｓｓｉｇｎｍｅｎｔ ｒｅｃｏｒｄｅｄ ｂｙ ｔｈｅ Ｏｆｆｉｃｅ．
  Ａｐｐｌｉｃａｎｔ １
 Ｉｆ ｔｈｅ ａｐｐｌｉｃａｎｔ ｉｓ ｔｈｅ ｉｎｖｅｎｔｏｒ （ｏｒ ｔｈｅ ｒｅｍａｉｎｉｎｇ ｊｏｉｎｔ ｉｎｖｅｎｔｏｒ ｏｒ ｉｎｖｅｎｔｏｒｓ ｕｎｄｅｒ ３７ ＣＦＲ １．４５）， ｔｈｉｓ ｓｅｃｔｉｏｎ ｓｈｏｕｌｄ ｎｏｔ ｂｅ ｃｏｍｐｌｅｔｅｄ．
 Ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｔｏ ｂｅ ｐｒｏｖｉｄｅｄ ｉｎ ｔｈｉｓ ｓｅｃｔｉｏｎ ｉｓ ｔｈｅ ｎａｍｅ ａｎｄ ａｄｄｒｅｓｓ ｏｆ ｔｈｅ ｌｅｇａｌ ｒｅｐｒｅｓｅｎｔａｔｉｖｅ ｗｈｏ ｉｓ ｔｈｅ ａｐｐｌｉｃａｎｔ ｕｎｄｅｒ ３７ ＣＦＲ
｜１．４３； ｏｒ ｔｈｅ ｎａｍｅ ａｎｄ ａｄｄｒｅｓｓ ｏｆ ｔｈｅ ａｓｓｉｇｎｅｅ， ｐｅｒｓｏｎ ｔｏ ｗｈｏｍ ｔｈｅ ｉｎｖｅｎｔｏｒ ｉｓ ｕｎｄｅｒ ａｎ ｏｂｌｉｇａｔｉｏｎ ｔｏ ａｓｓｉｇｎ ｔｈｅ ｉｎｖｅｎｔｉｏｎ， ｏｒ ｐｅｒｓｏｎ
｜ｗｈｏ ｏｔｈｅｒｗｉｓｅ ｓｈｏｗｓ ｓｕｆｆｉｃｉｅｎｔ ｐｒｏｐｒｉｅｔａｒｙ ｉｎｔｅｒｅｓｔ ｉｎ ｔｈｅ ｍａｔｔｅｒ ｗｈｏ ｉｓ ｔｈｅ ａｐｐｌｉｃａｎｔ ｕｎｄｅｒ ３７ ＣＦＲ １．４６． Ｉｆ ｔｈｅ ａｐｐｌｉｃａｎｔ ｉｓ ａｎ
 ｜ａｐｐｌｉｃａｎｔ ｕｎｄｅｒ ３７ ＣＦＲ １．４６（ａｓｓｉｇｎｅｅ， ｐｅｒｓｏｎ ｔｏ ｗｈｏｍ ｔｈｅ ｉｎｖｅｎｔｏｒ ｉｓ ｏｂｌｉｇａｔｅｄ ｔｏ ａｓｓｉｇｎ， ｏｒ ｐｅｒｓｏｎ ｗｈｏ ｏｔｈｅｒｗｉｓｅ ｓｈｏｗｓ ｓｕｆｆｉｃｉｅｎｔ
 ｜ｐｒｏｐｒｉｅｔａｒｙ ｉｎｔｅｒｅｓｔ） ｔｏｇｅｔｈｅｒ ｗｉｔｈ ｏｎｅ ｏｒ ｍｏｒｅ ｊｏｉｎ ｉｎｖｅｎｔｏｒｓ， ｔｈｅｎ ｔｈｅ ｊｏｉｎｔ ｉｎｖｅｎｔｏｒ ｏｒ ｉｎｖｅｎｔｏｒｓ ｗｈｏ ａｒｅ ａｌｓｏ ｔｈｅ ａｐｐｌｉｃａｎｔ ｓｈｏｕｌｄ ｂｅ
 ｉｄｅｎｔｉｆｉｅｄ ｉｎ ｔｈｉｓ ｓｅｃｔｉｏｎ．                                                                                                               Ｃｌｅａｒ

 ◎ Ａｓｓｉｇｎｅｅ                              Ｏ Ｌｅｇａｌ Ｒｅｐｒｅｓｅｎｔａｔｉｖｅ ｕｎｄｅｒ ３５ Ｕ．Ｓ．Ｃ．１１７        ）Ｊｏｉｎｔ Ｉｎｖｅｎｔｏｒ

 Ｏ Ｐｅｒｓｏｎ ｔｏ ｗｈｏｍ ｔｈｅ ｉｎｖｅｎｔｏｒ ｉｓ ｏｂｌｉｇａｔｅｄ ｔｏ ａｓｓｉｇｎ．            Ｏ Ｐｅｒｓｏｎ ｗｈｏ ｓｈｏｗｓ ｓｕｆｆｉｃｉｅｎｔ ｐｒｏｐｒｉｅｔａｒｙ ｉｎｔｅｒｅｓｔ
 ｌｆ ａｐｐｌｉｃａｎｔ ｉｓ ｔｈｅ ｌｅｇａｌ ｒｅｐｒｅｓｅｎｔａｔｉｖｅ，ｉｎｄｉｃａｔｅ ｔｈｅ ａｕｔｈｏｒｉｔｙ ｔｏ ｆｉｌｅ ｔｈｅ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ， ｔｈｅ ｉｎｖｅｎｔｏｒ ｉｓ：

 Ｎａｍｅ ｏｆ ｔｈｅ Ｄｅｃｅａｓｅｄ ｏｒ Ｌｅｇａｌｌｙ Ｉｎｃａｐａｃｉｔａｔｅｄ Ｉｎｖｅｎｔｏｒ：
 Ｉｆ ｔｈｅ Ａｐｐｌｉｃａｎｔ ｉｓ ａｎ Ｏｒｇａｎｉｚａｔｉｏｎ ｃｈｅｃｋ ｈｅｒｅ．区
 Ｏｒｇａｎｉｚａｔｉｏｎ Ｎａｍｅ ＳＣＡＮ２ＣＡＤ ＩＮＣ．
  Ｍａｉｌｉｎｇ Ａｄｄｒｅｓｓ Ｉｎｆｏｒｍａｔｉｏｎ Ｆｏｒ Ａｐｐｌｉｃａｎｔ：
  Ａｄｄｒｅｓｓ １                ７９０１ ４ｔｈ Ｓｔ Ｎ Ｓｔｅ ３００ Ｓｔ
  Ａｄｄｒｅｓｓ ２
  Ｃｉｔｙ                     Ｐｅｔｅｒｓｂｕｒｇ                                                  Ｓｔａｔｅ／Ｐｒｏｖｉｎｃｅ                 ＦＬ
  Ｃｏｕｎｔｒｙ ＵＳ                                                                           Ｐｏｓｔａｌ Ｃｏｄｅ                    ３３７０２
  Ｐｈｏｎｅ Ｎｕｍｂｅｒ                                                                          Ｆａｘ Ｎｕｍｂｅｒ
  Ｅｍａｉｌ Ａｄｄｒｅｓｓ
 Ａｄｄｉｔｉｏｎａｌ Ａｐｐｌｉｃａｎｔ Ｄａｔａ ｍａｙ ｂｅ ｇｅｎｅｒａｔｅｄ ｗｉｔｈｉｎ ｔｈｉｓ ｆｏｒｍ ｂｙ ｓｅｌｅｃｔｉｎｇ ｔｈｅ Ａｄｄ ｂｕｔｔｏｎ．

 Ａｓｓｉｇｎｅｅ Ｉｎｆｏｒｍａｔｉｏｎ ｉｎｃｌｕｄｉｎｇ Ｎｏｎ－Ａｐｐｌｉｃａｎｔ Ａｓｓｉｇｎｅｅ Ｉｎｆｏｒｍａｔｉｏｎ：
 Ｐｒｏｖｉｄｉｎｇ ａｓｓｉｇｎｍｅｎｔ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｔｈｉｓ ｓｅｃｔｉｏｎ ｄｏｅｓ ｎｏｔ ｓｕｂｓｔｉｔｕｔｅ ｆｏｒ ｃｏｍｐｌｉａｎｃｅ ｗｉｔｈ ａｎｙ ｒｅｑｕｉｒｅｍｅｎｔ ｏｆ ｐａｒｔ ３ ｏｆ Ｔｉｔｌｅ
 ３７ ｏｆ ＣＦＲ ｔｏ ｈａｖｅ ａｎ ａｓｓｉｇｎｍｅｎｔ ｒｅｃｏｒｄｅｄ ｂｙ ｔｈｅ Ｏｆｆｉｃｅ．



 ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳ
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                                                                                                                                             ＰＴＯ／ＡＩＡ／１４（０１－２２）
                                                                                                            Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４．ＯＭＢ０６５１－００３２
                                                                                            Ｕ．Ｓ Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ． ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
         Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５，ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｒｅｄ ｔｏ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏｎ ｕｎｌｅｓｓ ｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．
 Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｔｔｏｒｎｅｙ                             Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ ６７３０１－Ｈ００１ＤＳ０２
                                                            Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ                       ２９／９５２，１４４
 Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ

  Ａｓｓｉｇｎｅｅ １
Ｃｏｍｐｌｅｔｅ ｔｈｉｓ ｓｅｃｔｉｏｎ ｉｆ ａｓｓｉｇｎｅｅ ｉｎｆｏｒｍａｔｉｏｎ， ｉｎｃｌｕｄｉｎｇ ｎｏｎ－ａｐｐｌｉｃａｎｔ ａｓｓｉｇｎｅｅ ｉｎｆｏｒｍａｔｉｏｎ， ｉｓ ｄｅｓｉｒｅｄ ｔｏ ｂｅ ｉｎｃｌｕｄｅｄ ｏｎ ｔｈｅ ｐａｔｅｎｔ
ｌａｐｐｌｉｃａｔｉｏｎ ｐｕｂｌｉｃａｔｉｏｎ． Ａｎ ａｓｓｉｇｎｅｅ－ａｐｐｌｉｃａｎｔ ｉｄｅｎｔｉｆｅｄｉｎ ｔｈｅ ＂Ａｐｐｌｉｃａｎｔ Ｉｎｆｏｒｍａｔｉｏｎ＂ ｓｅｃｔｉｏｎ ｗｉｌｌ ａｐｐｅａｒ ｏｎ ｔｈｅ ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ
ｐｕｂｌｉｃａｔｉｏｎ ａｓ ａｎ ａｐｐｌｉｃａｎｔ．Ｆｏｒ ａｎ ａｓｓｉｇｎｅｅ－ａｐｐｌｉｃａｎｔ， ｃｏｍｐｌｅｔｅ ｔｈｉｓ ｓｅｃｔｉｏｎ ｏｎｌｙ ｉｆ ｉｄｅｎｔｉｆｉｃａｔｉｏｎ ａｓ ａｎ ａｓｓｉｇｎｅｅ ｉｓ ａｌｓｏ ｄｅｓｉｒｅｄ ｏｎ ｔｈｅ
ｐａｔｅｎｔ ａｐｐｌｉｃａｔｉｏｎ ｐｕｂｌｉｃａｔｉｏｎ．

 Ｉｆ ｔｈｅ Ａｓｓｉｇｎｅｅ ｏｒ Ｎｏｎ－Ａｐｐｌｉｃａｎｔ Ａｓｓｉｇｎｅｅ ｉｓ ａｎ Ｏｒｇａｎｉｚａｔｉｏｎ ｃｈｅｃｋ ｈｅｒｅ．                                                         区
 Ｏｒｇａｎｉｚａｔｉｏｎ Ｎａｍｅ                ＳＣＡＮ２ＣＡＤ ＩＮＣ．
Ｍａｉｌｉｎｇ Ａｄｄｒｅｓｓ Ｉｎｆｏｒｍａｔｉｏｎ Ｆｏｒ Ａｓｓｉｇｎｅｅ ｉｎｃｌｕｄｉｎｇ Ｎｏｎ－Ａｐｐｌｉｃａｎｔ Ａｓｓｉｇｎｅｅ：
 Ａｄｄｒｅｓｓ １                  ７９０１ ４ｔｈ Ｓｔ Ｎ Ｓｔｅ ３００ Ｓｔ
 Ａｄｄｒｅｓｓ ２
 Ｃｉｔｙ                                Ｐｅｔｅｒｓｂｕｒｇ                                     Ｓｔａｔｅ／Ｐｒｏｖｉｎｃｅ                ＦＬ
 Ｃｏｕｎｔｒｙｉ      ＵＳ                                                                   Ｐｏｓｔａｌ Ｃｏｄｅ                   ３３７０２
 Ｐｈｏｎｅ Ｎｕｍｂｅｒ                                                                       Ｆａｘ Ｎｕｍｂｅｒ
 Ｅｍａｉｌ Ａｄｄｒｅｓｓ
Ａｄｄｉｔｉｏｎａｌ Ａｓｓｉｇｎｅｅ ｏｒ Ｎｏｎ－Ａｐｐｌｉｃａｎｔ Ａｓｓｉｇｎｅｅ Ｄａｔａ ｍａｙ ｂｅ ｇｅｎｅｒａｔｅｄ ｗｉｔｈｉｎ ｔｈｉｓ ｆｏｒｍ ｂｙ
ｓｅｌｅｃｔｉｎｇ ｔｈｅ Ａｄｄ ｂｕｔｔｏｎ．


Ｓｉｇｎａｔｕｒｅ：
ＮＯＴＥ： Ｔｈｉｓ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｍｕｓｔ ｂｅ ｓｉｇｎｅｄ ｉｎ ａｃｃｏｒｄａｎｃｅ ｗｉｔｈ ３７ ＣＦＲ １．３３（ｂ）． Ｈｏｗｅｖｅｒ， ｉｆ ｔｈｉｓ Ａｐｐｌｉｃａｔｉｏｎ
Ｄａｔａ Ｓｈｅｅｔ ｉｓ ｓｕｂｍｉｔｔｅｄ ｗｉｔｈ ｔｈｅ ＩＮＩＴＩＡＬ ｆｉｌｉｎｇ ｏｆ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ａｎｄ ｅｉｔｈｅｒ ｂｏｘ Ａ ｏｒ Ｂ ｉｓ ｎｏｔ ｃｈｅｃｋｅｄ ｉｎ
ｓｕｂｓｅｃｔｉｏｎ ２ ｏｆ ｔｈｅ“Ａｕｔｈｏｒｉｚａｔｉｏｎ ｏｒ Ｏｐｔ－Ｏｕｔ ｏｆ Ａｕｔｈｏｒｉｚａｔｉｏｎ ｔｏ Ｐｅｒｍｉｔ Ａｃｃｅｓｓ”ｓｅｃｔｉｏｎ， ｔｈｅｎ ｔｈｉｓ ｆｏｒｍ ｍｕｓｔ
ａｌｓｏ ｂｅ ｓｉｇｎｅｄ ｉｎ ａｃｃｏｒｄａｎｃｅ ｗｉｔｈ ３７ ＣＦＲ １．１４（ｃ）．
      Ｔｈｉｓ Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ｍｕｓｔ ｂｅ ｓｉｇｎｅｄ ｂｙ ａ ｐａｔｅｎｔ ｐｒａｃｔｉｔｉｏｎｅｒ ｉｆ ｏｎｅ ｏｒ ｍｏｒｅ ｏｆ ｔｈｅ ａｐｐｌｉｃａｎｔｓ ｉｓ ａ ｊｕｒｉｓｔｉｃ
ｅｎｔｉｔｙ（ｅ．ｇ．， ｃｏｒｐｏｒａｔｉｏｎ ｏｒ ａｓｓｏｃｉａｔｉｏｎ）． Ｉｆ ｔｈｅ ａｐｐｌｉｃａｎｔ ｉｓ ｔｗｏ ｏｒ ｍｏｒｅ ｊｏｉｎｔ ｉｎｖｅｎｔｏｒｓ， ｔｈｉｓ ｆｏｒｍ ｍｕｓｔ ｂｅ ｓｉｇｎｅｄ ｂｙ ａ
ｐａｔｅｎｔ ｐｒａｃｔｉｔｉｏｎｅｒ， ａｌｌ ｊｏｉｎｔ ｉｎｖｅｎｔｏｒｓ ｗｈｏ ａｒｅ ｔｈｅ ａｐｐｌｉｃａｎｔ， ｏｒ ｏｎｅ ｏｒ ｍｏｒｅ ｊｏｉｎｔ ｉｎｖｅｎｔｏｒ－ａｐｐｌｉｃａｎｔｓ ｗｈｏ ｈａｖｅ ｂｅｅｎ ｇｉｖｅｎ
ｐｏｗｅｒ ｏｆ ａｔｔｏｒｎｅｙ（ｅ．ｇ．， ｓｅｅ ＵＳＰＴＯ Ｆｏｒｍ ＰＴＯ／ＡＩＡ／８１）ｏｎ ｂｅｈａｌｆ ｏｆ ａｌｌ ｊｏｉｎｔ ｉｎｖｅｎｔｏｒ－ａｐｐｌｉｃａｎｔｓ．
    Ｓｅｅ ３７ ＣＦＲ １．４（ｄ） ｆｏｒ ｔｈｅ ｍａｎｎｅｒ ｏｆ ｍａｋｉｎｇ ｓｉｇｎａｔｕｒｅｓ ａｎｄ ｃｅｒｔｉｆｉｃａｔｉｏｎｓ．


 Ｓｉｇｎａｔｕｒｅ Ｙａｎｇｚｈｏｕ Ｄｕ／                                                                                Ｄａｔｅ（ＹＹＹＹ－ＭＭ－ＤＤ） ２０２４－０７－１４
 Ｆｉｒｓｔ Ｎａｍｅ Ｙａｎｇｚｈｏｕ              Ｌａｓｔ Ｎａｍｅ Ｄｕ                                Ｒｅｇｉｓｔｒａｔｉｏｎ Ｎｕｍｂｅｒ ６５３１０
 Ａｄｄｉｔｉｏｎａｌ Ｓｉｇｎａｔｕｒｅ ｍａｙ ｂｅ ｇｅｎｅｒａｔｅｄ ｗｉｔｈｉｎ ｔｈｉｓ ｆｏｒｍ ｂｙ ｓｅｌｅｃｔｉｎｇ ｔｈｅ Ａｄｄ ｂｕｔｔｏｎ．




 ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳ
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                                                                                                                                                 ＰＴＯＩＡＩＡ／１４（０１－２２）
                                                                                                              Ａｐｐｒｏｖｅｄ ｆｏｒ ｕｓｅ ｔｈｒｏｕｇｈ ０５／３１／２０２４． ＯＭＢ ０６５１－００３２
                                                                                              Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋ Ｏｆｆｉｃｅ； Ｕ．Ｓ． ＤＥＰＡＲＴＭＥＮＴ ＯＦ ＣＯＭＭＥＲＣＥ
             Ｕｎｄｅｒ ｔｈｅ Ｐａｐｅｒｗｏｒｋ Ｒｅｄｕｃｔｉｏｎ Ａｃｔ ｏｆ １９９５， ｎｏ ｐｅｒｓｏｎｓ ａｒｅ ｒｅｑｕｉｒｅｄ ｔ ｒｅｓｐｏｎｄ ｔｏ ａ ｃｏｌｌｅｃｔｉｏｎ ｏｆｉｎｆｏｒｍａｔｉｏｎ ｕｎｌｅｓｓ ｉｔ ｃｏｎｔａｉｎｓ ａ ｖａｌｉｄ ＯＭＢ ｃｏｎｔｒｏｌ ｎｕｍｂｅｒ．

 Ａｐｐｌｉｃａｔｉｏｎ Ｄａｔａ Ｓｈｅｅｔ ３７ ＣＦＲ １．７６ Ａｐｐｌｉｃａｔｉｏｎ Ｎｕｍｂｅｒ          Ａｔｔｏｒｎｅｙ Ｄｏｃｋｅｔ Ｎｕｍｂｅｒ ６７３０１－Ｈ００１ＤＳ０２
                                                                                                         ２９／９５２，１４４

 Ｔｉｔｌｅ ｏｆ Ｉｎｖｅｎｔｉｏｎ ＣＯＮＮＥＣＴＯＲ

 Ｔｈｉｓ ｃｏｌｌｅｃｔｉｏｎ ｏｆ ｉｎｆｏｒｍａｔｉｏｎ ｉｓ ｒｅｑｕｉｒｅｄ ｂｙ ３７ ＣＦＲ １．７６． Ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｉｓ ｒｅｑｕｉｒｅｄ ｔｏ ｏｂｔａｉｎ ｏｒ ｒｅｔａｉｎ ａ ｂｅｎｅｆｉｔ ｂｙ ｔｈｅ ｐｕｂｌｉｃ ｗｈｉｃｈ
 ｉｓ ｔｏ ｆｉｌｅ （ａｎｄ ｂｙ ｔｈｅ ＵＳＰＴＯ ｔｏ ｐｒｏｃｅｓｓ） ａｎ ａｐｐｌｉｃａｔｉｏｎ． Ｃｏｎｆｉｄｅｎｔｉａｌｉｔｙ ｉｓ ｇｏｖｅｒｎｅｄ ｂｙ ３５ Ｕ．Ｓ．Ｃ．１２２ ａｎｄ ３７ ＣＦＲ １．１４． Ｔｈｉｓ
 ｃｏｌｌｅｃｔｉｏｎ ｉｓ ｅｓｔｉｍａｔｅｄ ｔｏ ｔａｋｅ ２３ ｍｉｎｕｔｅｓ ｔｏ ｃｏｍｐｌｅｔｅ， ｉｎｃｌｕｄｉｎｇ ｇａｔｈｅｒｉｎｇ， ｐｒｅｐａｒｉｎｇ， ａｎｄ ｓｕｂｍｉｔｉｎｇ ｔｈｅ ｃｏｍｐｌｅｔｅｄ ａｐｐｌｉｃａｔｉｏｎ ｄａｔａ
 ｓｈｅｅｔ ｆｏｒｍ ｔｏ ｔｈｅ ＵＳＰＴＯ． Ｔｉｍｅ ｗｉｌｌ ｖａｒｙ ｄｅｐｅｎｄｉｎｇ ｕｐｏｎ ｔｈｅ ｉｎｄｉｖｉｄｕａｌ ｃａｓｅ． Ａｎｙ ｃｏｍｍｅｎｔｓ ｏｎ ｔｈｅ ａｍｏｕｎｔ ｏｆ ｔｉｍｅ ｙｏｕ ｒｅｑｕｉｒｅ ｔｏ
 ｃｏｍｐｌｅｔｅ ｔｈｉｓ ｆｏｒｍ ａｎｄ／ｏｒ ｓｕｇｇｅｓｔｉｏｎｓ ｆｏｒ ｒｅｄｕｃｉｎｇ ｔｈｉｓ ｂｕｒｄｅｎ， ｓｈｏｕｌｄ ｂｅ ｓｅｎｔ ｔｏ ｔｈｅ Ｃｈｉｅｆ Ｉｎｆｏｒｍａｔｉｏｎ Ｏｆｆｉｃｅｒ， Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ
 Ｔｒａｄｅｍａｒｋ Ｏｆｆｃｅ， Ｕ．Ｓ． Ｄｅｐａｒｔｍｅｎｔ ｏｆ Ｃｏｍｍｅｒｃｅ， Ｐ．Ｏ． Ｂｏｘ １４５０， Ａｌｅｘａｎｄｒｉａ， ＶＡ ２２３１３－１４５０． ＤＯ ＮＯＴ ＳＥＮＤ ＦＥＥＳ ＯＲ
 ＣＯＭＰＬＥＴＥＤ ＦＯＲＭＳ ＴＯ ＴＨＩＳ ＡＤＤＲＥＳＳ． ＳＥＮＤ ＴＯ： Ｃｏｍｍｉｓｓｉｏｎｅｒ ｆｏｒ Ｐａｔｅｎｔｓ，Ｐ．０．Ｂｏｘ １４５０，Ａｌｅｘａｎｄｒｉａ， ＶＡ ２２３１３－１４５０．




ＥＦＳ Ｗｅｂ ２．２．１３
Ｃｏｒｒｅｃｔｅｄ ＡＤＳCase: 1:25-cv-05846 Document #: 12-2 Filed: 06/04/25 Page 9 of 9 PageID #:273



                                                            Ｐｒｉｖａｃｙ Ａｃｔ Ｓｔａｔｅｍｅｎｔ


 Ｔｈｅ Ｐｒｉｖａｃｙ Ａｃｔ ｏｆ １９７４（Ｐ．Ｌ，９３－５７９）ｒｅｑｕｉｒｅｓ ｔｈａｔ ｙｏｕ ｂｅ ｇｉｖｅｎ ｃｅｒｔａｉｎ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｃｏｎｎｅｃｔｉｏｎ ｗｉｔｈ ｙｏｕｒ ｓｕｂｍｉｓｓｉｏｎ ｏｆ ｔｈｅ ａｔｔａｃｈｅｄ ｆｏｒｍ ｒｅｌａｔｅｄ ｔｏ ａ ｐａｔｅｎｔ
 ａｐｌｉｃａｔｉｏｎ ｏｒ ｐａｔｅｎｔ．Ａｃｃｏｒｄｉｎｇｌｙ， ｐｕｒｓｕａｎｔ ｔｏ ｔｈｅ ｒｅｑｕｉｒｅｍｅｎｔｓ ｏｆ ｔｈｅ Ａｃｔ， ｐｌｅａｓｅ ｂｅ ａｄｖｉｓｅｄ ｔｈａｔ：（１） ｔｈｅ ｇｅｎｅｒａｌａｕｔｈｏｒｉｔｙｆｏ ｔｅ ｃｌｌｅｃｔｉｏｎ ｏｆ ｔｈｉｓ ｉｎｆｏｒｍａｔｉｏｎ
 ｉｓ ３５ Ｕ．Ｓ．Ｃ．２（ｂ）（２）；（２） ｆｕｒｎｉｓｈｉｎｇ ｏｆ ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｓｏｌｉｃｉｔｅｄ ｉｓ ｖｏｌｕｎｔａｒｙ； ａｎｄ（３）ｔｈｅ ｐｒｉｎｃｉｐａｌ ｐｕｒｐｏｓｅ ｆｏｒ ｗｈｉｃｈ ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｉｓ ｕｓｅｄ ｂｙ ｔｈｅ Ｕ．Ｓ． Ｐａｔｅｎｔ ａｎｄ
 Ｔｒａｄｅｍａｒｋｏｆｉｃｅｉｓｔｏ ｐｒｏｃｅｓｓ ａｎｄ／ｏｒ ｅｘａｍｉｎｅ ｙｏｕｒ ｓｕｂｍｉｓｉｏｎ ｒｅｌａｔｅｄ ｔｏ ａ ｐａｔｅｎｔａｐｌｉｃａｔｉｏｎ ｏｒ ｐａｔｅｎｔ． Ｉｆｙｏｕ ｄｏ ｎｏｔ ｆｕｒｎｉｓｈ ｔｈｅ ｒｅｑｕｅｓｔｅｄ ｉｎｆｏｒｍａｔｉｏｎ， ｔｈｅ ｕｓ．
 Ｐａｔｅｎｔ ａｎｄ Ｔｒａｄｅｍａｒｋｏｆｉｃｅ ｍａｙ ｎｏｔ ｂｅ ａｂｌｅ ｔｏ ｐｒｏｃｅｓｓａｎｄ／ｏｒ ｅｘａｍｉｎｅ ｙｏｕｒ ｓｕｂｍｉｓｉｏｎ， ｗｈｉｃｈ ｍａｙ ｒｅｓｕｌｔ ｉｎ ｔｅｒｍｉｎａｔｉｏｎ ｏｆ ｐｒｏｃｅｅｄｉｎｇｓ ｏｒ ａｂａｎｄｏｎｍｅｎｔ ｏｆ
 ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ｏｒ ｅｘｐｉｒａｔｉｏｎ ｏｆ ｔｈｅ ｐａｔｅｎｔ．
Ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｐｒｏｖｉｄｅｄ ｂｙ ｙｏｕ ｉｎ ｔｈｉｓ ｆｏｒｍ ｗｉｌｌ ｂｅ ｓｕｂｊｅｃｔ ｔｏ ｔｈｅ ｆｏｌｌｏｗｉｎｇ ｒｏｕｔｉｎｅ ｕｓｅｓ：
      １ Ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｏｎ ｔｈｉｓ ｆｏｒｍ ｗｉｌｌ ｅ ｔｒｅａｔｅｄ ｃｏｎｆｉｄｅｎｔｉａｌｌｙｔｏ ｔｈｅ ｅｘｔｅｎｔ ａｌｌｏｗｅｄ ｕｎｄｅｒ ｔｈｅ Ｆｒｅｅｄｏｍ ｏｆｌｎｆｏｒｍａｔｉｏｎ Ａｃｔ （５Ｕ５．Ｃ．５５２） ａｎｄ ｔｈｅ Ｐｒｉｖａｃｙ
           Ａｃｔ（５Ｕ．Ｓ．Ｃ．５５２ａ）． Ｒｅｃｏｒｄｓ ｆｒｏｍ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ ｔｏ ｔｈｅ Ｄｅｐａｒｔｍｅｎｔ ｏｆ Ｊｕｓｔｉｃｅ ｔｏ ｄｅｔｅｒｍｉｎｅ ｗｈｅｔｈｅｒ ｔｈｅ Ｆｒｅｅｄｏｍ ｏｆ
           Ｉｎｆｏｒｍａｔｉｏｎ Ａｃｔ ｒｅｑｕｉｒｅｓ ｄｉｓｃｌｏｓｕｒｅ ｏｆ ｔｈｅｓｅ ｒｅｃｏｒｄｓ．
      ２． Ａｒｅｃｏｒｄ ｆｒｏｍ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｌｏｓｅｄ， ａｓ ａｒｏｕｔｉｎｅ ｕｓｅ， ｉｎ ｔｈｅ ｃｏｕｒｓｅ ｏｆ ｐｒｅｓｅｎｔｉｎｇ ｅｖｉｄｅｎｃｅ ｔｏ ａ ｃｏｕｒｔ， ｍａｇｉｓｔｒａｔｅ， ｏｒａｄｍｉｎｉｓｔｒａｔｉｖｅ
            ｔｒｉｂｕｎａｌ， ｉｎｃｌｕｄｉｎｇ ｄｉｓｃｌｏｓｕｒｅｓ ｔｏ ｏｐｐｏｓｉｎｇ ｃｏｕｎｓｅｌ ｉｎ ｔｈｅ ｃｏｕｒｓｅ ｏｆ ｓｅｔｔｌｅｍｅｎｔ ｎｅｇｏｔｉａｔｉｏｎｓ．
      ３ Ａ ｒｅｃｏｒｄ ｉｎ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ，ｔｏ ａ Ｍｅｍｂｅｒ ｏｆ Ｃｏｎｇｒｅｓｓｓｕｂｍｉｔｔｉｎｇ ａ ｒｅｑｕｅｓｔ ｉｎｖｏｌｖｉｎｇ ａｎ ｉｎｄｉｖｉｄｕａｌ，ｔｏ ｗｈｏｍ
            ｔｈｅ ｒｅｃｏｒｄ ｐｅｒｔａｉｎｓ，ｗｈｅｎ ｔｈｅ ｉｎｄｉｖｉｄｕａｌ ｈａｓ ｒｅｑｕｅｓｔｅｄ ａｓｓｉｓｔａｎｃｅ ｆｒｏｍ ｔｈｅ Ｍｅｍｂｅｒ ｗｉｔｈ ｒｅｓｐｅｃｔ ｔｏ ｔｈｅ ｓｕｂｊｅｃｔ ｍａｔｔｅｒ ｏｆ ｔｈｅ ｒｅｃｏｒｄ．
      ４． Ａ ｒｅｃｏｒｄ ｉｎ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ， ｔｏ ａ ｃｏｎｔｒａｃｔｏｒ ｏｆ ｔｈｅ Ａｇｅｎｃｙ ｈａｖｉｎｇ ｎｅｅｄ ｆｏｒ ｔｈｅ ｉｎｆｏｒｍａｔｉｏｎ ｉｎ ｏｒｄｅｒ ｔｏ ｐｅｒｆｏｒｍ
            ａ ｃｏｎｔｒａｃｔ． Ｒｅｃｉｐｉｅｎｔｓ ｏｆｉｎｆｏｒｍａｔｉｏｎ ｓｈａｌｌ ｅ ｒｅｑｕｉｒｅｄ ｔｏ ｃｏｍｐｌｙ ｗｉｔｈ ｔｈｅ ｒｅｑｕｉｒｅｍｅｎｔｓ ｏｆ ｔｈｅ Ｐｒｉｖａｃｙ Ａｃｔ ｏｆ１９７４，ａｓ ａｍｅｎｄｅｄ，ｐｕｒｓｕａｎｔ ｔｏ ５ＵＳ．Ｃ．
            ５５２ａ（ｍ）．
      ５． Ａ ｒｅｃｏｒｄ ｒｅｌａｔｅｄ ｔｏ ａｎ ＩｎｔｅｒｎａｔｉｏｎａｌＡｐｐｌｉｃａｔｉｏｎ ｆｌｅｄ ｕｎｄｅｒ ｔｈｅ Ｐａｔｅｎｔ Ｃｏｏｐｅｒａｔｉｏｎ Ｔｒｅａｔ ｎｔｉ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ，
           ｔｏ ｔｈｅ Ｉｎｔｅｒｎａｔｉｏｎａｌ Ｂｕｒｅａｕ ｏｆ ｔｈｅ Ｗｏｒｌｄ Ｉｎｔｅｌｌｅｃｔｕａｌ Ｐｒｏｐｅｒｔｙ Ｏｒｇａｎｉｚａｔｉｏｎ， ｐｕｒｓｕａｎｔ ｔｏ ｔｈｅ Ｐａｔｅｎｔ ＣｏｏｐｅｒａｔｉｏｎＴｒｅａｔｙ．
      ６． Ａ ｒｅｃｏｒｄ ｉｎ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ， ｔｏ ａｎｏｔｈｅｒ ｆｅｄｅｒａｌ ａｇｅｎｃｙ ｆｏｒ ｐｕｒｐｏｓｅｓ ｏｆ Ｎａｔｉｏｎａｌ Ｓｅｃｕｒｉｔｙ ｒｅｖｉｅｗ （３５ＵＳ．Ｃ．１８１）
            ａｎｄ ｆｏｒ ｒｅｖｉｅｗ ｐｕｒｓｕａｎｔ ｔｏ ｔｈｅ Ａｔｏｍｉｃ Ｅｎｅｒｇｙ Ａｃｔ（４２ Ｕ．Ｓ．Ｃ．２１８（ｃ））．

      ７． Ａ ｒｅｃｏｒｄ ｆｒｏｍ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ，ｔｏ ｔｈｅ Ａｄｍｉｎｉｓｔｒａｔｏｒ， Ｇｅｎｅｒａｌ Ｓｅｒｖｉｃｅｓ， ｏｒ ｈｉｓ／ｈｅｒ ｄｅｓｉｇｎｅｅ， ｄｕｒｉｎｇ ａｎ
            ｉｎｓｐｅｃｔｉｏｎ ｏｆ ｒｅｃｏｒｄｓ ｃｏｎｄｕｃｔｅｄ ｂｙ ＧＳＡ ａｓ ｐａｒｔ ｏｆ ｔｈａｔ ａｇｅｎｃｙ＇ｓ ｒｅｓｐｏｎｓｉｂｉｌｉｔｙ ｔｏ ｒｅｃｏｍｍｅｎｄ ｉｍｐｒｏｖｅｍｅｎｔｓ ｉｎ ｒｅｃｏｒｄｓ ｍａｎａｇｅｍｅｎｔ ｐｒａｃｔｉｃｅｓ ａｎｄ
            ｐｒｏｇｒａｍｓ，ｕｎｄｅｒ ａｕｔｈｏｒｉｔｙ ｏｆ ４４Ｕ．５．Ｃ．２９０４ ａｎｄ ２９０６．Ｓｕｃｈ ｄｉｓｃｌｏｓｕｒｅ ｓｈａｌｌ ｅ ｍａｄｅ ｉｎ ａｃｃｏｒｄａｎｃｅ ｗｉｔｈ ｔｈｅ ＧＳＡ ｒｅｇｕｌａｔｉｏｎｓ ｇｏｖｅｒｎｉｎｇ ｉｎｓｐｅｃｔｉｏｎ ｏｆ
            ｒｅｃｏｒｄｓ ｆｏｒ ｔｈｉｓ ｐｕｒｐｏｓｅ， ａｎｄ ａｎｙ ｏｔｈｅｒ ｒｅｌｅｖａｎｔ（ｉｅ．ＧＳＡ ｏｒ Ｃｏｍｍｅｒｃｅ） ｄｉｒｅｃｔｉｖｅ． Ｓｕｃｈ ｄｉｓｃｌｏｓｕｒｅ ｓｈａｌｌ ｎｏｔ ｂｅ ｕｓｅｄ ｔｏ ｍａｋｅ ｄｅｔｅｒｍｉｎａｔｉｏｎｓ ａｂｏｕｔ
            ｉｎｄｉｖｉｄｕａｓ．
      ８． Ａ ｒｅｃｏｒｄ ｆｒｏｍ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ， ｔｏ ｔｈｅ ｐｕｂｌｉｃａｆｔｅｒｅｉｔｈｅｒ ｐｕｂｌｉｃａｔｉｏｎ ｏｆ ｔｈｅ ａｐｐｌｉｃａｔｉｏｎ ｐｕｒｓｕａｎｔ ｔｏ ３５ＵＳ．Ｃ．
           １２２（ｂ）ｏｒ ｉｓｓｕａｎｃｅ ｏｆ ａ ｐａｔｅｎｔ ｐｕｒｓｕａｎｔ ｔｏ ３５Ｕ５．Ｃ．１５１． Ｆｕｒｔｈｅｒ ａ ｒｅｃｏｒｄ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ｓｕｂｊｅｃｔ ｔｏ ｔｈｅ ｌｉｍｉｔａｔｉｏｎｓ ｏｆ ３７ ＣＦＲ １．１４， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ，
           ｔｏ ｔｈｅ ｐｕｂｌｉｃ ｉｆ ｔｈｅ ｒｅｃｏｒｄ ｗａｓ ｆｉｌｅｄ ｉｎ ａｎ ａｐｐｌｃａｔｉｏｎ ｗｈｉｃｈ ｂｅｃａｍｅ ａｂａｎｄｏｎｅｄ ｏｒ ｉｎ ｗｈｉｃｈ ｔｈｅ ｐｒｏｃｅｅｄｉｎｇｓ ｗｅｒｅ ｔｅｒｍｉｎａｔｅｄ ａｎｄ ｗｈｉｃｈ ａｐｐｌｉｃａｔｉｏｎ ｉｓ
            ｒｅｆｅｒｅｎｃｅｄ ｂｙ ｅｉｔｈｅｒ ａ ｐｕｂｌｉｓｈｅｄ ａｐｐｌｉｃａｔｉｏｎ，ａｎ ａｐｐｌｉｃａｔｉｏｎ ｏｐｅｎ ｔｏ ｐｕｂｌｉｃ ｉｎｓｐｅｃｔｉｏｎｓ ｏｒ ａｎ ｉｓｓｕｅｄ ｐａｔｅｎｔ．
      ９． Ａ ｒｅｃｏｒｄ ｆｒｏｍ ｔｈｉｓ ｓｙｓｔｅｍ ｏｆ ｒｅｃｏｒｄｓ ｍａｙ ｂｅ ｄｉｓｃｌｏｓｅｄ， ａｓ ａ ｒｏｕｔｉｎｅ ｕｓｅ，ｔｏ ａ Ｆｅｄｅｒａｌ， Ｓｔａｔｅ， ｏｒｌｏｃａｌ ｌａｗ ｅｎｆｏｒｃｅｍｅｎｔ ａｇｅｎｃｙ， ｉｆ ｔｈｅ ＵＳＰＴＯ ｂｅｃｏｍｅｓ
            ａｗａｒｅ ｏｆ ａ ｖｉｏｌａｔｉｏｎ ｏｒ ｐｏｔｅｎｔｉａｌ ｖｉｏｌａｔｉｏｎ ｏｆ ｌａｗ ｏｒ ｒｅｇｕｌａｔｉｏｎ．




 ＥＦＳ Ｗｅｂ ２．２．１３
